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 8
                          UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
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11
      Kenrico LTD, a Japan Limited               Case No. 2:19-cv-07705
12    Company,
13                       Plaintiff,              KENRICO LTD’S COMPLAINT
14          v.                                   FOR FALSE ADVERTISING AND
                                                 UNFAIR COMPETITION
15    Evgeny Lapik d.b.a. LAPIK, an
16    individual,                                DEMAND FOR JURY TRIAL
17                       Defendant.
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25          Pursuant to Rule 8 of the Federal Rules of Civil Procedure, plaintiff
26    KENRICO, LTD. hereby alleges for its complaint against Evgeny Lapik, d.b.a.,
27    LAPIK (hereinafter “Lapik” or “Defendant”) and demands a jury trial as follows:
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 1                                NATURE OF THIS ACTION
 2          1.      This is a complaint for false advertising and unfair competition
 3    arising from Defendant’s acts specified below.
 4                                             PARTIES
 5          2.      Plaintiff KENRICO LTD. (hereinafter “Plaintiff” or “Kenrico”) is a
 6    limited company formed under the laws of Japan.
 7          3.      On information and belief, defendant Evgeny Lapik (hereinafter
 8    “Defendant” or “Lapik”) is an individual selling products into the district and
 9    doing business as LAPIK.
10                               JURISDICTION AND VENUE
11          4.      This Court has jurisdiction over the subject matter of this action
12    pursuant to 28 U.S.C. §§ 1331 and 1338(b).
13          5.      On information and belief, this Court has personal jurisdiction over
14    defendant LAPIK because LAPIK conducts business in the district.
15          6.      Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391.
16                                           DEFENDANT’S
17                FALSE ADVERTISING AND UNFAIR COMPETITION
18          7.      Plaintiff Kenrico is an engaged in the business of manufacturing,
19    selling and marketing a range of consumer products.
20          8.      One of Kenrico’s prominent products includes foot pads used for
21    personal care. An exemplary photo of Kenrico’s product is attached hereto as
22    Exhibit A. Kenrico’s packaging is well known amongst consumers and operates
23    as, inter alia, a source identifier.
24          9.      Kenrico’s products are sold under the trademarks DETOX PATCH or
25    DETOX PAD.
26          10.     Kenrico’s products are the subject of clinical studies and U.S. Patent
27    Nos. 8,317,762 and 7,182,965.
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 1            11.   Defendant Lapik is also engaged in the business of manufacturing,
 2    selling and marketing foot pads. An exemplary photo of defendant’s product is
 3    attached hereto as Exhibit B.
 4            12.   Plaintiff and Defendant compete in the marketplace for consumers of
 5    foot pads. Specifically, Plaintiff’s and Defendant’s products are each sold on the
 6    retail website Amazon.com.
 7            13.   On information and belief, Defendant have unfairly competed with
 8    Plaintiff including, without limitation, copying without authorization Plaintiff’s
 9    marketing materials. See Exhibit B.
10            14.   Defendant also unfairly compete in the marketplace by falsely
11    representing and advertising on their packaging and/or advertising that their
12    products contain the ingredient sporopollenin. See Exhibit B.
13                               FIRST CAUSE OF ACTION
14                          (False Advertising – 15 U.S.C. § 1125)
15            15.   Plaintiff incorporates by reference each and every allegation
16    contained in paragraphs 1-14 of the complaint as though set forth fully herein.
17            16.   Defendant falsely advertises in the marketplace by falsely
18    representing in advertisements and/or on their packaging that their products
19    contain sporopollenin. See Exhibit B. On information and belief, consumers have
20    been, or are likely to be, misled or confused by this material false statement of
21    fact.
22            17.   By reason of the foregoing and upon information and belief,
23    defendant has violated Section 43 of the Lanham Act (15 U.S.C. § 1125(a)) by
24    making false statements of material fact regarding their products.
25            18.   By reason of the foregoing unlawful acts recited in the above
26    paragraphs, Plaintiff has been irreparably harmed and will continue to suffer
27    damage until an appropriate injunction and damage award, including increased
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 1    treble damages and attorneys’ fees, are imposed by this Court against Defendant.
 2             19.    Plaintiff is entitled to damages pursuant to 15 U.S.C. § 1125,
 3    including treble damages and attorneys’ fees.
 4                                SECOND CAUSE OF ACTION
 5      (Unfair Competition – Common Law and Cal. Bus. & Prof. Code § 17200)
 6             20.    Plaintiff incorporates by reference each and every allegation
 7    contained in paragraphs 1-19 of the complaint as though set forth fully herein.
 8             21.    Defendant’s acts, as set forth above, constitute unfair competition as
 9    defined under common law and in California Business and Professions Code §
10    17200, et seq.
11             22.    Defendant’s acts have injured plaintiff in an amount to be proven at
12    trial.
13                                 THIRD CAUSE OF ACTION
14                       (Unfair Competition – California Common Law)
15             23.    Plaintiff incorporates by reference each and every allegation
16    contained in paragraphs 1-22 of the complaint as though set forth fully herein.
17             24.    Defendant’s acts, as set forth above, constitute unfair competition as
18    defined under common law and in California Business and Professions Code §
19    17200, et seq.
20             25.    Defendant’s acts have injured Plaintiff in an amount to be proven at
21    trial.
22                                   PRAYER FOR RELIEF
23              WHEREFORE, plaintiff requests entry of judgment in its favor and against
24    Defendant as follows:
25             A.     Enter an order permanently enjoining Defendant and their officers,
26    agents, and employees, and all those persons acting in concert or participation with
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 1    them from further acts of unfair competition including, but not limited to, claiming
 2    their products contain sporopollenin or anything similar thereto;
 3         B.        Award plaintiff past and future damages together with prejudgment and
 4    post-judgment interest to compensate for the unfair competition by Defendant;
 5         C.        Declaring the action to be exceptional and awarding plaintiff its
 6    attorneys’ fees and enhanced damages pursuant to 15 U.S.C. § 1117 or any other
 7    related law;
 8         D.        Granting all such other and relief as the Court deems just and
 9    appropriate.
10                                       Respectfully submitted,
11                                       MANDOUR & ASSOCIATES, APC
12    Date: September 5, 2019
13
                                               /s Ben T. Lila
14                                       Ben T. Lila (SBN 246808)
15                                       Email: blila@mandourlaw.com
                                         Attorneys for Plaintiff,
16                                       KENRICO LTD
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                                             KENRICO LTD’S COMPLAINT FOR FALSE ADVERTISING
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 1                              DEMAND FOR JURY TRIAL
 2          Plaintiff hereby demands a trial by the jury on all claims herein and all
 3    issues and claims so triable in this action.
 4
 5                                      Respectfully submitted,
 6                                      MANDOUR & ASSOCIATES, APC
 7    Date: September 5, 2019
 8
                                              /s Ben T. Lila
 9                                      Ben T. Lila (SBN 246808)
10                                      Email: blila@mandourlaw.com
                                        Attorneys for Plaintiff,
11                                      KENRICO LTD.
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 1                             CERTIFICATE OF SERVICE
 2          I hereby certify that on the below date, I filed the foregoing document with
 3    the Court’s CM/ECF filing system that will provide notice of the same on the
 4    parties and counsel of record in the case.
 5
 6    Dated: September 5, 2019
 7                                           /s Ben T. Lila
                                       Ben T. Lila (SBN 246808)
 8                                     Email: blila@mandourlaw.com
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                                EXHIBIT A




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                                EXHIBIT B




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                                                                       EXHIBIT B
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                                                            Case No. 2:19-cv-07705
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